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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

ROBERT CASTLEBERRY,                                     Civil Action No.

     Plaintiff,                                         2:16-cv-00128-LGW-BWC

v.                                                      JURY TRIAL DEMANDED

CAMDEN COUNTY,

     Defendant.



                  MOTION OF SUBSTITUTION OF COUNSEL

        COMES NOW, V. Severin Roberts, attorney for Robert Castleberry

(“Plaintiff”) in the above captioned mater, and respectfully requests the court allow

a substitution of counsel and shows the Court as follows:

        1. Taylor J. Bennett of Barrett & Farahany filed a complaint on behalf of

            Plaintiff on September 15, 2016. [Doc 1].

        2. On March 22, 2017, Adeash A. Lakraj entered an appearance on behalf

            of Plaintiff [Doc. 15]. Attorney Bennett’s representation of Plaintiff was

            withdrawn as of March 27, 2017. [Doc. 16].

        3. To date, Mr. Lakraj and the law firm of Barrett & Farahany have

            represented the Plaintiff in the above referenced matter.
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      4. Due to an employment change, as of March 1, 2019, Mr. Lakraj will no

         longer be employed by Barrett & Farahany.

      5. The law firm of Barrett & Farahany will continue to represent Plaintiff in

         this matter.

      WHEREFORE, the Plaintiff respectfully requests that the Court grant
Plaintiff’s motion for the substitution of V. Severin Roberts in the stead of Adeash
A. Lakraj. A proposed order is attached.


This 20th day of February, 2019.

                                             BARRETT & FARAHANY

                                             s/ V. Severin Roberts
                                             V. Severin Roberts
                                             Georgia Bar No. 940504

                                             Attorney for Robert Castleberry


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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

ROBERT CASTLEBERRY,                                      Civil Action No.

     Plaintiff,                                          2:16-cv-00128-LGW-BWC

v.                                                       JURY TRIAL DEMANDED

CAMDEN COUNTY,

     Defendant.


                          CERTIFICATE OF SERVICE

        I hereby certify that on this day I filed the foregoing Motion of Substitution

of Counsel with the Clerk of Court using the CM/ECF system which will send

notification of such filing to all counsel of records.

        This 20th day of February, 2019.

                                               BARRETT & FARAHANY

                                               s/ V. Severin Roberts
                                               V. Severin Roberts
                                               Georgia Bar No. 940504

                                               Attorney for Robert Castleberry
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

ROBERT CASTLEBERRY,                                  Civil Action No.

     Plaintiff,                                      2:16-cv-00128-LGW-BWC

v.                                                   JURY TRIAL DEMANDED

CAMDEN COUNTY,

     Defendant.


                                (Proposed) ORDER

        This matter comes before the Court on the Plaintiff’s Motion for Substitution

of Counsel (“Motion”). Having considered the Motion in its entirety, the Court

GRANTS Plaintiff’s Motion for Substituting of Counsel. V. Severin Roberts will

be entered as the substitute counsel for Adeash A. Lakraj.


                                              ______________________________
                                              United States Magistrate Judge
                                              Southern District of Georgia
